            Case 5:20-cr-00298-DNH Document 52 Filed 10/22/21 Page 1 of 4




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA

v.

JOHN ZOURDOS, HELEN ZOURDOS, and                                         Case No. 5:20-cr-298 (DNH)
DIMITRIOS ZOURDOS,

                                Defendants.


                       DEFENDANTS’ JOINT VOIR DIRE REQUESTS

       Defendants John Zourdos, Helen Zourdos, and Dimitrios Zourdos respectfully request that

the Court inquire into general matters with regard to each potential juror, including the juror’s

name; city of residence; employment; educational background; the occupation of the juror’s

spouse, domestic partners, parents, and children; and similar matters.

       Defendants also request that the Court read or summarize the Indictment in the case to

potential jurors, subject to striking certain surplusage to which Defendants object.

       Defendants request that the Court incorporate the following case-specific questions into its

voir dire of prospective jurors:

       1.       Do you or does someone close to you work for a federal or state agency including

                but not limited to the United States Department of Treasury, United States Internal

                Revenue Service, NYS Department of Taxation and Finance, or any other agency

                involved in the regulation of activities related to the collection of taxes?

       2.       Have you ever dealt with these agencies?

       3.       Have you or someone close to you been the subject of a tax audit by one of these

                agencies?
     Case 5:20-cr-00298-DNH Document 52 Filed 10/22/21 Page 2 of 4




4.       Do you or someone close to you have ties to law enforcement or a history in law

         enforcement?

5.       Are you or is someone close to you engaged, in any fashion, with issues concerning

         the Internal Revenue Service?

6.       Are you or is someone close to you engaged, in any fashion, with issues concerning

         the payment or collection of taxes?

7.       Have you or has someone close to you ever worked in a field or occupation related

         to tax issues?

8.       Have you ever hired a company to calculate and file your income tax returns? If so,

         were you involved in the process?

9.       Have you prepared your income tax returns on your own and without assistance?

10.      Do you or does someone close to you have specialized knowledge, experience,

         education or interest in tax related matters, including the calculation or collection

         of tax payments, tax regulations, or tax laws?

11.      Do you have any knowledge of or interest in federal, state, or local tax laws,

         including tax collection laws or regulations?

12.      Do you have any knowledge or interest in criminal prosecutions involving tax

         related activities?

13.      Are you or is someone close to you engaged, in any fashion, with accounting or

         bookkeeping matters?

14.      Have you ever worked for a small business or sole-proprietorship? If so, did you

         deal with money?

15.      Have you ever owned or operated a small business or sole-proprietorship?



                                           2
  Case 5:20-cr-00298-DNH Document 52 Filed 10/22/21 Page 3 of 4




16.   Have you or has someone close to you worked in a donut shop, bakery, or similar

      business?

17.   Have you or has someone close to you worked in a fast food restaurant or similar

      business?

18.   Have you ever worked as a cashier or in a similar role? If yes, in what type of

      business?

19.   Do you or does someone close to you have personal concern about the tax payment

      or collections systems and processes?

20.   Are you or is someone close to you involved in a business, occupation or line of

      work that is regulated by local, state, or federal government agencies?

21.   Do you work in a field or industry that is highly regulated by any government

      agency?

22.   Have you ever had a complaint or dispute with an employer over wages or salary?

23.   Have you ever been paid in cash for work?

24.   Do you recognize that it is legal to pay employees with cash?

25.   Do you agree that an individual could violate a tax regulation innocently,

      unknowingly or unintentionally?

26.   Do you agree that an innocent, unintentional violation of an administrative

      regulation or rule does not mean that a crime has been committed?

27.   Do you have any moral convictions of any type related to the collection and

      payment of taxes?

28.   Have you ever been a defendant in a criminal case? If yes, what was the outcome

      of the case?



                                        3
         Case 5:20-cr-00298-DNH Document 52 Filed 10/22/21 Page 4 of 4




       29.   Have you ever been a party to a civil lawsuit? If yes, what was your role? What

             was the outcome of the case?



Dated: October 22, 2021

 DAVID M. GARVIN, P.A.                          BARCLAY DAMON LLP



 By:    /s David M. Garvin                      By:   /s Gabriel M. Nugent
        David M. Garvin                               Gabriel M. Nugent
        Admitted Pro Hac Vice                         David G. Burch

 200 South Biscayne Boulevard, Suite 3150       Barclay Damon Tower
 Miami, Florida 33131                           125 East Jefferson Street
 Telephone: (305) 371-8101                      Syracuse, New York 13202
 Facsimile: (305) 371-8848                      Telephone: (315) 425-2700
 E-Mail: ontrial2@gmail.com;                    Facsimile: (315) 425-2701
 dgarvin@garvinlaw.com                          E-Mail: gnugent@barclaydamon.com
 Attorneys for Defendant                        Attorneys for Defendant
 John Zourdos and Helen Zourdos                 Dimitrios Zourdos




                                            4
